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                                    MINUTE ORDER



   CASE NUMBER:              CIVIL NO. 19-00169LEK-KJM
   CASE NAME:                Venice PI, LLC, et al. Vs. Doe 1, doing business as YIFY, et
                             al.


         JUDGE:       Leslie E. Kobayashi            REPORTER:

         DATE:        08/13/2019                     TIME:


  COURT ACTION: EO: COURT ORDER DENYING PLAINTIFFS’ MOTION FOR
  RECONSIDERATION OF ORDER [DOC. #36] DENYING PLAINTIFFS’ MOTION
  FOR PRELIMINARY INJUNCTION WITHOUT PREJUDICE AND FOR LEAVE TO
  SERVE THE MOTION FOR PRELIMINARY INJUNCTION ON DEFENDANTS BY
  ALTERNATIVE MEANS

         On August 9, 2019, Plaintiffs Venice PI, LLC; MON, LLC; Millennium Funding,
  Inc.; Bodyguard Productions, Inc.; TBV Productions, LLC; UN4 Productions, Inc.; and
  Hunter Killer Productions, Inc. (collectively “Plaintiffs”), filed their Motion for
  Reconsideration of Order [Doc. #36] Denying Plaintiffs’ Motion for Preliminary
  Injunction Without Prejudice and for Leave to Serve the Motion for Preliminary
  Injunction on Defendants by Alternative Means (“Motion”). [Dkt. no. 37.] The Motion
  seeks reconsideration of this Court’s August 7, 2019 entering order (“8/7/19 EO”). [Dkt.
  no. 36.] In the 8/7/19 EO, this Court denied without prejudice the April 4, 2019 ex parte
  motion filed by Millennium Funding, Inc., Hunter Killer Productions, Inc., and
  Bodyguard Productions, Inc. (“Moving Plaintiffs”), which sought, in part, a preliminary
  injunction (“4/4/19 Motion”). [Dkt. no. 7.] The instant Motion also seeks leave to serve
  Defendant DOE 1, doing business as YIFY, and DOE 2, doing business as YTS
  (collectively “Doe Defendants”), by alternative means, through their email addresses
  provided in the Motion. [Motion at 2 (page numbers are according to the district court’s
  electronic case filing system).] The Court has considered the Motion as a non-hearing
  matter pursuant to Local Rule 7.2(e).

          First, the portion of Plaintiff’s Motion seeking reconsideration of the 8/7/19 EO is
  HEREBY DENIED. The Motion fails to either “demonstrate reasons why the court
  should reconsider its prior decision [or] . . . set forth facts or law of a strongly convincing
  nature to induce the court to reverse its prior decision.” See Green v. Kanazawa, CIVIL
  16-00054 LEK-KSC, CIVIL 16-00055 LEK-KSC, 2018 WL 2306987, at *2 (D. Hawai`i
  May 21, 2018) (citations and internal quotation marks omitted). To the extent Plaintiffs
  argue denial of the request for a preliminary injunction was a manifest error of law and
  fact, Plaintiffs have not identified either a factual or legal error in the 8/7/19 EO that
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  would warrant reconsideration. The only argument Plaintiffs raise is that they are unable
  to serve the Doe Defendants with the 4/4/19 Motion, which this Court previously noted in
  the 8/7/19 EO. Compare Motion at 3 (“Plaintiffs cannot serve [Doe] Defendants by
  traditional means”), with 8/7/19 EO (“To date, the Moving Plaintiffs have failed to show
  proof of service of the [4/4/19] Motion.”). Plaintiffs appear to merely disagree with this
  Court’s decision to deny the preliminary injunction without prejudice, which “is an
  insufficient basis for reconsideration.” See Green, 2018 WL 2306987, at *2 (citation and
  quotation marks omitted).

         As to the portion of the Motion seeking leave to serve the Doe Defendants by
  alternative methods, i.e., email, the Court notes Plaintiffs have a pending filing that
  addresses their concerns regarding service of the Doe Defendants. On May 10, 2019,
  Plaintiffs filed their “Unopposed Ex Parte Motion for Leave to Request Issuance of Order
  Granting Letters of Request Prior to a Rule 26(f) Conference and Order Granting Said
  Letter of Request” (“5/10/19 Motion”). [Dkt. no. 27.] In the 5/10/19 Motion, Plaintiffs
  represented the letters of requests were “to obtain the identification information for
  Defendants DOE 1 and DOE 2 prior to the [Fed. R. Civ. P.] 26(f) conference with
  Defendants DOE 1 and DOE 2 so Plaintiffs can serve Defendants DOE 1 and DOE 2
  with a summons for this lawsuit.” See Mem. in supp. of 5/10/19 Motion at 3 (page
  numbers are according to the district court’s electronic case filing system) (emphasis
  added). The magistrate judge denied the 5/10/19 Motion on July 1, 2019 (“7/1/19
  Order”), and Plaintiffs filed a motion for reconsideration of the 7/1/19 Order on July 7,
  2019 (“Reconsideration Motion”). [Dkt. nos. 32 (7/1/19 Order), 34 (Reconsideration
  Motion).] The Reconsideration Motion is currently pending before the magistrate judge.

         In light of the issues pending before the magistrate judge in the Reconsideration
  Motion, the portion of the Motion requesting leave to serve the Doe Defendants by
  alternative means is DENIED WITHOUT PREJUDICE. Plaintiffs’ Motion is therefore
  DENIED in its entirety.

        IT IS SO ORDERED.
